 4:17-cr-03149-RGK-CRZ     Doc # 21   Filed: 12/19/17   Page 1 of 2 - Page ID # 39




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                  CASE NO: 4:17CR3149
      vs.

LINDSEY R. KOCH,                                   DETENTION ORDER
               Defendant.



      The defendant is charged with a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. On the government's motion, the
court held a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f).
The court concludes the defendant must be detained pending trial.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a drug crime under the Controlled Substances
Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve
ten or more years in prison. The defendant has not rebutted this presumption.

      Based on the evidence presented and information of record, the court finds
by a preponderance of the evidence that the defendant's release would pose a
risk of nonappearance at court proceedings, and by clear and convincing
evidence that the defendant's release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant violated conditions of
release previously imposed by a court; is addicted to or abuses mood-altering
chemicals and is likely to continue such conduct and violate the law if released;
 4:17-cr-03149-RGK-CRZ     Doc # 21   Filed: 12/19/17   Page 2 of 2 - Page ID # 40




was not truthful with pretrial services during his interview and therefore poses a
substantial risk of noncompliance with supervision; has limited employment
contacts; has failed to appear for court proceedings in the past; has mental
health issues which will pose a risk of harm if the defendant is released; and
conditions which restrict Defendant’s travel, personal contacts, and possession of
drugs, alcohol, and/or firearms; require reporting, education, employment, or
treatment; or monitor Defendant’s movements or conduct; or any combination of
these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is
released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated December 19, 2017.

                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
